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                          Not for Publication in West's Federal Reporter

                    United States Court of Appeals
                                 For the First Circuit


      Nos. 22-1591; 22-1872



                THE BOARD OF TRUSTEES, in its capacity as trustees and
                      fiduciaries of the ILA PRSSA PENSION FUND,

                                   Plaintiff, Appellee,

                                               v.

        ILA LOCAL 1740, AFL-CIO, an Unincorporated Labor Organization,

                                  Defendant, Appellant,

                          JOHN DOES 1 THROUGH 10, inclusive,

                                          Defendants.


                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

                   [Hon. Silvia Carreño-Coll, U.S. District Judge]


                                            Before

                           Montecalvo, Lipez, and Thompson,
                                    Circuit Judges.


           Carlos R. Paula, with whom Jaime E. Picó-Rodríguez and Labor
      Counsels, LLC were on brief, for appellant.
           Clarissa A. Kang, with whom Dylan D. Rudolph, Catherine L.
      Reagan, Trucker Huss, APC, Enrique J. Mendoza Mendez, and Mendoza
      Law Offices were on brief, for appellee.
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                                   August 22, 2024
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                  THOMPSON,     Circuit     Judge.           The      International

      Longshoremen's Association ("ILA") is the largest labor union of

      maritime workers in North America. This appeal asks us to consider

      whether two of its Puerto Rico labor union affiliates, Appellant

      ILA Local 1740 ("Local 1740") and ILA Local 1575 ("Local 1575"),

      merged in August 2015 following their execution of a Merger

      Agreement.      Appellee, the Board of Trustees of the ILA PRSSA

      Pension Fund (the "Board") says yes, the merger happened and sued

      Local 1740, as the surviving ILA entity, for the collection of

      outstanding financial obligations it says Local 1575 owed to the

      ILA PRSSA Pension Fund (the "Pension Fund"), an ERISA pension

      benefit plan that the Board manages.         Responding to cross motions

      for summary judgment, the district court sided with the Board and

      awarded it damages and attorney's fees.             Now, before us, Local

      1740 insists that the district court got it all wrong chiefly

      because    it   erroneously   found   that   the   merger    occurred    after

      incorrectly refusing to consider relevant extrinsic evidence, and

      after failing to find the record replete with genuine issues of

      disputed material fact relevant to the hotly contested merger

      controversy.      Writing just for the parties, we assume their

      familiarity with the facts, procedural history, and arguments

      presented -- which we reference only as needed to give the gist

      behind why we find ourselves affirming the judgment below for

      substantially the same reasons offered by the district judge.


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                                  HOW WE GOT HERE1

                  In March 2015, a (metaphorical) storm was brewing at the

      Port of San Juan (the "Port") in San Juan, Puerto Rico.                  There,

      Horizon Lines, LLC ("Horizon"), a stevedoring company,2 ceased its

      operations at the Port.      At the time of the shutdown, Horizon was

      the exclusive employer of workers belonging to Local 1575.                    The

      result was bedlam:     All Local 1575 members lost their jobs.                And,

      in the wake of Horizon's departure another stevedoring company,

      Luis A. Ayala Colon Sucrs., Inc. ("Ayala"), expanded its operations

      and took over Horizon's former piers.         Union strife ensued3 because

      Local 1575 members believed they were contractually entitled to

      continue working their old docks.           But Ayala already had existing

      contracts with other ILA chapters, specifically Locals 1901, 1902,

      and 1740, similarly operating at the Port.              Seeking to calm the

      tempest    and   simplify   the   organizational       structures,      ILA    --

      pursuant to a provision within its Constitution -- decided to

      exercise its authority and merge the four ILA Locals operating at


            1We draw the relevant facts presented                 herein     from   the
      parties' statements of undisputed facts.

            2 For the less initiated, stevedoring simply refers to the
      process of loading and unloading ships in port. Stevedore,
      Merriam-Webster, https://www.merriam-webster.com/dictionary/stevedor
      ing (last visited August 6, 2024) [perma.cc/X9PV-T8L3].

            3For example, Ayala filed National Labor Relations Board
      ("NLRB") charges against Local 1575 for "picketing the facilities
      of [Ayala], the Employer, and blocking all ingress and egress to
      and from the facilities of the Employer at its Piers E and F."


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      the Port into one consolidated local. ILA made this decision after

      "finding that a merger [was] in the best interests of all the union

      members involved."      It then designated Local 1740 to be the last

      man standing.      Following that decision, authorized representatives

      of the four Locals executed a Merger Agreement that, by its terms,

      purportedly became effective August 1, 2015.

                  Of import to the dispute here is the Pension Fund, a

      multiemployer benefit plan established in 1973, and maintained

      under the Employee Retirement Income Security Act of 1974 ("ERISA")

      and   the   Multiemployer    Pension     Plan     Amendments      Act    of     1980

      ("MPPAA"), which provides pension, retirement, and other related

      benefits to its participants.        The Trust Agreement is administered

      by the Board and ERISA sets forth its fiduciary duties.                       Those

      responsibilities      include     collecting     liabilities      owed    to     the

      Pension Fund from participating employers. Local 1575, which prior

      to the merger had been a participating plan employer, owed the

      Pension     Fund    delinquent    pension      contributions      as     well    as

      withdrawal liability payments4 because of a mass withdrawal of




            4 UnderERISA, the federal statute regulating employee benefit
      plans, an employer that has assumed an obligation to contribute to
      and subsequently withdraws in whole or in part from a multiemployer
      pension plan is liable for its allocable share of any underfunding.
      See 29 U.S.C. § 1381. The liability amount is calculated based on
      a formula set forth in 29 U.S.C. § 1381 entitled "Withdrawal
      liability established; criteria and definitions."


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      employers from the Pension Fund5 following Horizon's cessation of

      operations at the Port.           Unlike Local 1575, Local 1740, the

      remaining ILA-merged entity at the Port, was not an employer to

      the Pension Fund at issue here.

                  After sending multiple notices and demands for payment

      to Local 1740, all of which went unanswered, the Board filed suit

      in August 2018 seeking to collect Local 1575's delinquent financial

      obligations to the Pension Fund from Local 1740, contending it had

      assumed Local 1575's liabilities when the unions merged and was

      therefore contractually liable for Local 1575's preexisting debt

      obligations.6 During the summary judgment proceedings below, Local

      1740 advanced several arguments as to why it was not liable to the

      Pension    Fund.     However,     as    most   pertinent      to   our    ensuing

      discussion, Local 1740 primarily argued that the merger between it

      and Local 1575 was never effectuated because the Merger Agreement

      contained several conditions precedent that Local 1575 had to

      fulfill to complete the merger, none of which had been done.




            5Those withdrawing from the Pension Fund were Horizon Lines
      of Puerto Rico (due to Horizon shutting down its Port operations),
      ILA Local 1575 AFL-CIO, ILA New York AFL-CIO (ITF Inspector ILA),
      ILA-PRSSA Welfare Fund, and ILA-PRSSA Pension Fund.

            6In its complaint, the Board filed two claims against all
      defendants: (1) withdrawal liability under ERISA § 4201, 29 U.S.C.
      § 1381; and (2) delinquent contributions under ERISA § 515, 29
      U.S.C. § 1145.


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                  The district court rejected the breadth of Local 1740's

      arguments and entered partial summary judgment for the Board on

      its liability claims.      See Bd. of Trs. v. ILA Loc. 1740, AFL-CIO,

      Civ. No. 18–1598, 2022 WL 2117771 (D.P.R. June 13, 2022).                 Later,

      the court issued judgment in favor of the Board and awarded it:

      (1)   $15,485.88    on   its      delinquent     contribution       claim;    (2)

      $1,025,308.72 on its withdrawal liability claim; (3) $634,715.60

      in attorney's fees; and (4) $5,215.79 in costs.                See Bd. of Trs.

      v. ILA Loc. 1740, AFL-CIO, Civ. No. 18–1598, 2022 WL 4591843

      (D.P.R. Sept. 30, 2022).          Unpleased with those outcomes, Local

      1740 appealed, and here we are.7

                                        DISCUSSION

                  A.    Summary Judgment

                  Broadly, Local 1740 asks us to let it off the hook for

      Local 1575's delinquent contributions and withdrawal liability to

      the Pension Fund.     And in doing so, Local 1740 rehashes here the

      barrage of arguments it made below about why the Board was not

      entitled to summary judgment.

                  Our "careful de novo review . . . of the record [or abuse

      of discretion where applicable and as indicated], the parties'

      appellate submissions, and the applicable law," leaves us with no




            7 Local 1740 first appealed the liability judgment and next
      appealed the award of damages.     We consolidated both for our
      review.


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      reason    "to   disturb   the   district    court's    decision,      which   is

      comprehensive and well-reasoned."          J-Way S., Inc. v. United States

      Army Corps of Eng'rs, 34 F.4th 40, 42 (1st Cir. 2022) (citing N.R.

      by & through S.R. v. Raytheon Co., 24 F.4th 740, 746 (1st Cir.

      2022)).    As we've held "when lower courts have supportably found

      the facts, applied the appropriate legal standards, articulated

      their reasoning clearly, and reached a correct result, a reviewing

      court ought not to write at length to merely hear its own words

      resonate."      deBenedictis v. Brady-Zell (In re Brady-Zell), 756

      F.3d 69, 71 (1st Cir. 2014); see also Vargas-Ruiz v. Golden Arch

      Dev., Inc., 368 F.3d 1, 2 (1st Cir. 2004).          Because this case fits

      that mold, we affirm by relying substantially on the basis of Judge

      Carreño-Coll's well-reasoned and thorough decision, adding only a

      few comments relevant to Local 1740's various arguments before us.8

                  We begin by observing, as the district court aptly

      explained, that the crux of the parties' dispute, and the issue to

      which nearly all of Local 1740's arguments redound, is whether




            8"We review the district court's summary-judgment decision
      de novo, which, for those unfamiliar with Latin, simply means we
      give the decision a completely fresh look."      Hamdallah v. CPC
      Carolina PR, LLC, 91 F.4th 1, 16 (1st Cir. 2024). In doing so, we
      "ask[] whether the summary-judgment winner[] (here, [the Board])
      [is] entitled to judgment as a matter of law because there is no
      genuine dispute as to any material fact -- even after taking all
      facts and inferences in the light most flattering to the
      summary-judgment loser [here, Local 1740]." Delgado-Caraballo v.
      Hosp. Pavía Hato Rey, Inc., 889 F.3d 30, 34-35 (1st Cir. 2018)
      (internal citations and quotation marks omitted).


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      Local 1575 merged into Local 1740 pursuant to the Merger Agreement.

      See Bd. of Trs., 2022 WL 2117771, at *8.                And to answer that

      question, we examine de novo whether the Merger Agreement contains

      conditions precedent that required Local 1575 to take certain steps

      to complete the merger.9          In contending that no merger ever

      occurred, Local 1740 argues that the court erred because it

      incorrectly     based   its   decision      exclusively     on    the     Merger

      Agreement.     Instead, it contends that the court "should have

      considered all other competent evidence on the record of the case

      [s]howing what was the parties' intention when contracting and/or

      when signing the Merger Agreement."         Had the court done so, Local

      1740 continues, it would have concluded that the record was replete

      with genuine issues of material fact as to whether the Merger

      Agreement did indeed contain conditions precedent necessary to

      effectuate the merger, and it would have denied summary judgment.

                  Color us unpersuaded. As an initial matter, Local 1740's

      pleas that we look to extrinsic evidence misunderstands our order




            9Simply put, "[a] condition precedent is 'an event which must
      occur before a contract becomes effective or before an obligation
      to perform arises under the contract.'" Am. Priv. Line Servs.,
      Inc. v. E. Microwave, Inc., 980 F.2d 33, 36 (1st Cir. 1992)
      (quoting Mass. Mun. Wholesale Elec. Co. v. Danvers, 577 N.E.2d
      283, 287 (Mass. 1991)). Local 1740 says that the Merger Agreement
      required that, prior to the merger being finalized and completed,
      Locals 1575, 1901, and 1902:       (1) submit the signed Merger
      Agreement to ILA for approval; (2) turn their assets over to Local
      1740; (3) surrender their charters to ILA; and (4) merge their
      respective membership lists.


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       of operations when it comes to contract interpretation.                      We

       explain.     As we've previously indicated, contract interpretation

       is a question of law.     See Greenpack of P.R., Inc. v. Am. President

       Lines, 684 F.3d 20, 26 (1st Cir. 2012).          So we turn to a scrutiny

       of the contract being challenged and spell out the legal principles

       which inform our analysis.        The Puerto Rico Civil Code, applicable

       to this dispute, provides, "[i]f the terms of a contract are clear

       and leave no doubt as to the intentions of the contracting parties,

       the literal sense of its stipulations shall be observed.               If the

       words should appear contrary to the evident intention of the

       contracting parties, the intention shall prevail."            P.R. Laws Ann.

       tit. 31, § 3471 (repealed in 2020 and replaced with P.R. Laws Ann.

       tit. 31, § 6342(b)).10        Moreover, we've held that "to consider

       extrinsic evidence at all, the court must first find the relevant




            10Although § 6342(b) has replaced §§ 3471-72, Local 1740 says
       we should look to §§ 3471-72 because these provisions prevailed at
       the time of the events in this case. Because those sections were
       in effect at the time of the events, and we have discovered no
       case law construing § 6342(b) differently, we will consider
       §§ 3471-72.   Additionally, Local 1740 (and the district court)
       acknowledged that those sections are very similar to § 6342 and
       brief their respective positions under § 3471.       The fact that
       Puerto   Rico's   parol    evidence   rule   (which    --   broadly
       speaking -- barred consideration of extrinsic evidence to an
       unambiguous contract) has been repealed does not impact our caselaw
       either because our "decisions [that] make it clear that [the Puerto
       Rico Civil Code provisions] preclude[] consideration of 'extrinsic
       evidence to vary the express, clear, and unambiguous terms of a
       contract'" "did not rely exclusively on the parol evidence rule."
       IOM Corp. v. Brown Forman Corp., 627 F.3d 440, 448 n.9 (1st Cir.
       2010); see also Bd. of Trs., 2022 WL 2117771, at *8 n.6.


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       terms of the agreement unclear."         Borschow Hosp. & Med. Supplies,

       Inc. v. César Castillo, Inc., 96 F.3d 10, 16 (1st Cir. 1996)

       (quoting Exec. Leasing Corp. v. Banco Popular de P.R., 48 F.3d 66,

       69 (1st Cir. 1995)); In re Advanced Cellular Sys., Inc., 483 F.3d

       7, 12 (1st Cir. 2007); see also IOM Corp. v. Brown Forman Corp.,

       627 F.3d 440, 447 (1st Cir. 2010).              "If the court finds no

       ambiguity, it should proceed to interpret the contract — and it

       may do so at the summary judgment stage."                 Torres Vargas v.

       Santiago Cummings, 149 F.3d 29, 33 (1st Cir. 1998); see also Markel

       Am. Ins. Co. v. Díaz-Santiago, 674 F.3d 21, 31 (1st Cir. 2012)

       (explaining that under Puerto Rico law, "[w]here the terms of a

       contract are clear, leaving no doubt as to the contracting parties'

       intentions, such contract will be observed according to 'the

       literal sense of its stipulations'" (quoting P.R. Laws Ann. tit.

       31, § 3471)).     We've noted that "[a]n agreement is clear when it

       can 'be understood in one sense alone, without leaving any room

       for doubt, controversies or difference of interpretation.'"                 In re

       Advanced Cellular Sys., Inc., 483 F.3d at 12 (quoting Catullo v.

       Metzner,    834   F.2d    1075,   1079   (1st   Cir.    1987));       see   also

       Almeida-León v. WM Cap. Mgmt., Inc., 993 F.3d 1, 12 (1st Cir.

       2021).     If, however, the court discerns any ambiguity, it must

       examine extrinsic evidence.        See Torres Vargas, 149 F.3d at 33.

       However, that inquiry "does not automatically preclude brevis

       disposition."     Id.    Rather, "[s]ummary judgment may be appropriate


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       even if ambiguity lurks as long as the extrinsic evidence presented

       to the court supports only one of the conflicting interpretations."

       Id.

                  Turning to the district court's scrutiny of the Merger

       Agreement,    we   observe    it   determined   that    three    of    the   four

       provisions to which Local 1740 takes exception were clear and

       unambiguous (and we'll say more about the fourth momentarily).

       See Bd. of Trs., 2022 WL 2117771, at *9–10.               Specifically, the

       provisions requiring:        (1) the transfer of Local 1575's assets to

       Local 1740; (2) the surrender of Local 1575's charter to ILA; and

       (3) the merger of the respective membership lists.                      See id.

       Therefore, in rejecting Local 1740's argument that the three terms

       were conditions precedent, the court found that nowhere in the

       Merger Agreement was there any language expressly conditioning the

       merger's   actualization      on   the   completion     of   these     contract

       provisions.    See id.; see also Vulcan Tools of P.R. v. Makita USA,

       Inc., 23 F.3d 564, 567 (1st Cir. 1994) (explaining that we find

       the terms of an agreement clear when they are "sufficiently lucid

       to be understood to have one particular meaning, without room for

       doubt"   (quotation   marks      omitted)).     And    because    those      terms

       themselves were otherwise clear and pellucid in what the contract

       called for by way of performance, Local 1740's plea to the court

       for it to consider extrinsic evidence beyond the Merger Agreement

       itself was of no help because the court needed no extratextual


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       evidence to ascertain the meaning of those terms.             See Bd. of Trs.,

       2022 WL 2117771, at *9–10; see also Borschow Hosp. & Med. Supplies,

       Inc., 96 F.3d at 15 (noting that courts may not use "extrinsic

       evidence to vary the express, clear, and unambiguous terms of a

       contract").

                   Upon our de novo review, we agree.             Yes, the Merger

       Agreement does confer contractual obligations upon Local 1575 (and

       the other Locals for that matter) to perform certain actions (which

       in theory might give rise to breach of contract claims), but it

       does not expressly condition the Locals' merger on the fulfillment

       of those obligations.      Therefore, we see no error in the court's

       determination.

                   Next,   the   court   determined    that    one    provision   was

       infected with ambiguity, to wit, whether Local 1575 (along with

       Locals 1901 and 1902) was required to submit, but did not do so,

       the signed Merger Agreement to ILA for its approval in order for

       the merger to be effectuated.        Given the ambiguity it discerned,

       the court turned to extrinsic evidence to suss out the parties'

       intent as our case law so instructs.           See Bd. of Trs., 2022 WL

       2117771, at *10 (citing Borschow Hosp. & Med. Supplies, 96 F.3d at

       16).11    We add a few words to the district court's handling of the


            11Contrary to Local 1740's assertion that the district court
       failed to consider extrinsic evidence when it concluded that the
       term was indeed ambiguous, the record belies that assertion. See
       Bd. of Trs., 2022 WL 2117771, at *10.


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       one-out-of-four term in controversy.            As the district court noted,

       although the Merger Agreement references approval generally in

       several different sections of the contract, it neither specifies

       whose approval is required, nor what approval entails.                      See id.

       Therefore, we agree with the district court's assessment that this

       aspect of the Merger Agreement is unclear as to whether some type

       of approval by ILA was intended to be a condition precedent to

       merger because it cannot "be understood in one sense alone, without

       leaving     any   room    for    doubt,   controversies      or    difference     of

       interpretation."         Exec. Leasing Corp., 48 F.3d at 69 (citation

       omitted).

                    The district court then turned to its review of the

       extrinsic record evidence, and in doing so, found it determinative

       that Locals 1901 and 1902 unquestionably merged into Local 1740,

       despite each Local's failure to submit a signed copy of the Merger

       Agreement to ILA for its approval.                See Bd. of Trs., 2022 WL

       2117771, at *10; see also U.S.I. Properties Corp. v. M.D. Const.

       Co., 860 F.2d 1, 10 (1st Cir. 1988) ("Under Puerto Rico law, . . .

       the acts of the parties, both contemporaneous with and subsequent

       to   the     contract,     are    evidence     relevant    to     the     contract's

       interpretation."         (Emphasis added) (citing P.R. Laws Ann. tit. 31,

       §§ 3471-72)).      While Local 1740 pointed to statements by two ILA

       officials expressing their belief that the merger was conditioned

       upon ILA approval by means of the Locals submitting a signed


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       agreement to it, the district court explained that this evidence

       was unhelpful in advancing Local 1740's interpretation of the

       Merger Agreement, as these are merely "statements explaining what

       [those individuals] believe the contract itself required rather

       than conduct demonstrating the parties' intent."                         Bd. of Trs.,

       2022 WL 2117771, at *10.            Therefore, the district court concluded

       that the term was not a condition precedent because the extrinsic

       evidence supporting such a determination was so one-sided that no

       reasonable        juror   could     find    otherwise      and    accordingly,        the

       acknowledged ambiguity could not block summary judgment.                        See id.;

       see also Torres Vargas, 149 F.3d at 33 ("Summary judgment may be

       appropriate even if ambiguity lurks as long as the extrinsic

       evidence        presented   to    the    court      supports     only    one    of    the

       conflicting interpretations.").                   And while Local 1740 contends

       that a material issue of fact exists "as to whether [ILA] approved

       the merger of Local 1575 and Local 1740, and as to whether the

       merger became effective," and further contends that if the district

       court     had    properly    viewed        "the    controversial        and    competent

       evidence" of record, it would have reached a different conclusion,

       we disagree.        Upon our de novo review of the record and of the

       district court's persuasive reasoning, we see no error in the

       court's legal finding that the merger was not contingent upon some

       type of formal approval from ILA. That the other two Locals merged

       into     Local    1740    without    such     specific      approval      is    a   clear


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       demonstration     of   the   parties'      intent    not    to   require   such    a

       formality, and while Local 1740 repeats on appeal that we should

       defer to a contrary interpretation endorsed by two ILA officials,

       we agree with the district court that these conclusory statements

       about how to read the contract do not undermine what the parties'

       actual conduct reveals about the meaning of the Merger Agreement.

                   Therefore, with the rejection of Local 1740's conditions

       precedent arguments, we, like the district court, conclude the

       Merger Agreement contains no such requirements and affirm that

       aspect of the court's ruling.12

                   Shifting gears to address the money issue in dispute,

       Local 1740 contends that even if the merger occurred, the pension

       and welfare benefit plans of each separate union was excluded from

       the merger and therefore the court erred when it concluded that

       because of the merger, Local 1740:                  (1) assumed Local 1575's

       liabilities;     and   (2)   must    pay    all     Local    1575's     delinquent

       contributions and withdrawal liability from the Pension Fund.                     In

       so arguing, Local 1740 points to that part of the Merger Agreement

       which indicates that the Locals' respective labor-management trust


            12 Local 1740's standalone argument that in essence contends
       no merger occurred because Local 1575 complied with "not one aspect
       of the merger . . . as originally envisioned and intended with the
       Merger Agreement," because "Local 1575 seems to continue in
       existence as a legal entity since it still manages the trust funds
       (Pension Fund and Royalty Fund)," is basically a rehash of its
       no-merger-ever-occurred argument, which we've already rejected for
       reasons explained.


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       agreements which provides pension benefits to its members were to

       remain unaltered and survive the merger.13 However, as the district

       court noted, the provision Local 1740 cites to does not shield it

       from liability since by the terms of the Merger Agreement itself,

       another provision kicks in which is broad in scope; specifically,

       Local 1740 expressly agreed to "assume all obligations of Local[]

       1575."    See Bd. of Trs., 2022 WL 2117771, at *12.            Nor, says the

       district court, are the two provisions in conflict.                   See id.

       Rather the Merger Agreement is best understood to provide only

       that when all the Locals merged into Local 1740 the respective

       benefit fund agreements unique to each Local were to survive the

       merger intact.     See id.

                   Upon our de novo review, we again see no error in the

       district court's thorough analysis and legal conclusions.                  See

       Simas v. Quaker Fabric Corp. of Fall River, 6 F.3d 849, 855 (1st

       Cir. 1993) (explaining that when an entity "assumes a liability

       that would otherwise be borne by the employer[,]" it is acting in


            13   The relevant paragraph of the Merger Agreement provides
       that:
                   The parties agree that any labor-management
                   trust agreements to which Locals 1575, 1740,
                   1901, and 1902 are parties to provide fringe
                   benefits, including welfare, pension, and
                   vacation benefits shall remain unaltered and
                   shall survive the merger.   The merged Local
                   1740 may negotiate new agreements in the
                   future to provide benefits for the membership
                   of the merged local union if it decides to do
                   so.


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       the interests of that employer and therefore an employer under

       ERISA); see also J. Supor & Son Trucking & Rigging Co. v. Trucking

       Emps. of N. Jersey Welfare Fund, 30 F.4th 179, 181-82 (3d Cir.

       2022) (collecting cases) (reasoning that that an employer under

       ERISA and the MPPAA is an entity "obligat[ed] to pay into a

       pension, either as a direct employer or on behalf of one").14

       Accordingly,     we   find   that    Local     1740   assumed    Local    1575's

       liabilities to the Pension Fund when they merged, and that Local

       1740 is therefore liable for Local 1575's withdrawal liability and

       delinquent contributions to the Pension Fund.15




            14 Our case is also blessed with an arbitration imbroglio
       which we dispose of handily.    Local 1740 says the court "erred
       when it held that Local 1740 waived its ability to contest the
       withdrawal liability amount by not timely initiating arbitration."
       In doing so, it merely reiterates its arguments that Local 1740
       was not an employer under ERISA and the MPPAA because the merger
       never occurred.    But Local 1740 does not attack the district
       court's untimeliness rationale, and because Local 1740 fails to
       point us to any overlooked material fact or misapplication of law,
       upon our de novo review, we similarly conclude that Local 1740 has
       waived   any  arbitration   challenge   for   lack  of   developed
       argumentation. See, e.g., United States v. Zannino, 895 F.2d 1,
       17 (1st Cir. 1990).

            15 Local1740 advanced a separate argument maintaining it was
       not liable to the Pension Fund under the alter-ego doctrine, a
       theory advanced by the Board in its summary judgment motion and
       adopted by the court. That is so because the alter-ego factors
       were not met here, and the district court erred when it held to
       the contrary. The court's ruling was "without any valid factual,
       evidentiary, or legal basis to support such [a] mistaken
       conclusion." However, because we agree with the district court's
       finding that the two Locals merged, we need not address this
       alternative finding.


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                  B.    Attorney's Fees

                  Rehashing its no-merger theme, Local 1740 says the court

       erred when it held that it must pay attorney's fees to the Board

       because no merger means it is not liable for Local 1575's debts to

       the Pension Fund.    Having rejected, as the district court did, the

       premise of this argument, we move on.

                  Alternatively, Local 1740 offers a different reason for

       why the award of attorney's fees was either completely unwarranted

       or, at best, clearly excessive.        As the argument goes, the court

       allowed the Board's attorneys a second bite at the apple when it

       ordered the Board to supplement its damages memoranda with a more

       detailed itemization of its fees and expenses.            In so doing says

       Local 1740, "[the Board] was allowed to effectively circumvent

       proper and timely compliance with the applicable legal requirement

       for requesting attorney's fees and costs."           As such, says Local

       1740, the Board's "request for attorney's fees should have been

       denied altogether considering that it was most certainly not 'in

       reasonable compliance with judicial pronouncements.'"                But should

       we find an award appropriate, it insists we apply an additional

       global reduction of no less than 20 percent for the Board's failure

       to differentiate between "core" and "non-core" work.

                  Unlike the de novo treatment we afforded Local 1740's

       summary judgment arguments above, we employ an abuse of discretion

       standard here.      See Rojas-Buscaglia v. Taburno-Vasarhelyi, 897


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       F.3d 15, 24 (1st Cir. 2018).       To prevail, Local 1740 must convince

       us that the district court "committed a meaningful error in

       judgment."    Lussier v. Runyon, 50 F.3d 1103, 1111 (1st Cir. 1995)

       (quotation marks omitted).         Upon review, we espy no abuse of

       discretion. In determining attorney's fees, we've held that "[t]he

       court must secure from the attorneys a full and specific accounting

       of their time; bills which simply list a certain number of hours

       and lack such important specifics as dates and the nature of the

       work performed during the hour or hours in question should be

       refused." King v. Greenblatt, 560 F.2d 1024, 1027 (1st Cir. 1977).

       Notwithstanding Local 1740's argument, it has pointed us to no

       authority     indicating    that     the    court's     order        requesting

       supplemental information was unreasonable or impermissible.                 And

       the cases Local 1740 do cite are of no help to it because, as the

       Board correctly notes, they "involve instances where claimants

       failed to follow the appropriate procedures in submitting a fee

       request, not where, as here, a claimant makes an appropriate

       request, and the court simply asks for additional detail."                  See

       Grendel's Den, Inc. v. Larkin, 749 F.2d 945, 956 (1st Cir. 1984);

       Lipsett v. Blanco, 975 F.2d 934, 937–38 (1st Cir. 1992).

                   Turning to Local 1740's second argument that the court's

       award of attorney's fees was excessive, again, we detect no abuse

       of discretion in the court's handling of the fee request.                     In

       addition to reducing the attorneys' rates to those of Puerto Rico,


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       rather   than   San   Francisco    (where    the   Board's     attorneys      are

       located), it also reduced the attorneys' hourly rates by 5 percent

       uniformly and reduced the originally requested fees by 43 percent.

       See Bd. of Trs., 2022 WL 4591843, at *6–8.          From our vantage point,

       and to repeat, the court's order, including this aspect of it, was

       thoughtful,     well-formulated,     and     comprehensive.            The   court

       correctly applied the law to the facts and thoroughly explained

       its rationale.    We detect no error.

                  With that said, and in light of the district court's

       well–reasoned opinion, no more is needed.           We affirm.

                                    FINAL THOUGHTS

                  All that said, we affirm.         Costs to Appellee.




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